                                             UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF TENNESSEE
                                                     Western Division


UNITED STATES OF AMERICA

-vs-                                                                                       Case No. 2:20mj081-1 cgc

TERICA TANEISHA ELLIS
_____________________________________


                                             ORDER OF TEMPORARY DETENTION
                                              PENDING HEARING1 PURSUANT TO
                                                    BAIL REFORM ACT

            Upon motion of the Government, it is ORDERED that a identity/removal/probable

cause/detention hearing is set for FRIDAY, AUGUST 21, 2020 at 2:30 P.M. before Chief United

States Magistrate Judge Tu M. Pham. The hearing will be held via Zoom video conference.

Pending this hearing, the defendant shall be held in custody by the United States Marshal and

produced for the hearing.

Date: August 18, 2020
                                                                            s/ Charmiane G. Claxton
                                                                          CHARMIANE G. CLAXTON
                                                                      UNITED STATES MAGISTRATE JUDGE




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            If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant. 18 U.S.C. § 3142(f)(2).
          A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (1) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that
the defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to
threaten, injure, or intimidate a prospective witness or juror.

AO 470 (8/85) Order of Temporary Detention
